         Case 3:09-cr-01336-JAH                        Document 466                 Filed 09/21/12               PageID.1502                     Page 1 of 2


     .,.AO 2458     (Rev. 9/00) Judgment in a Criminal Case
                    Sheet I


                                                UNITED STATES DISTRICT COUKtSEP 2 i PM 3: 25
                                                    SOUTHERN DISTRICT OF CALIFORNIAL                                  C"        ,;          ,.      '1lr
                                                                                                              ;;OUTHt:K~·i      F:iC i     cl.. l!r!~·~\~!
                      UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A C~MINAL CASE
                                          v.                                         (For Offenses Commi~d_
                                                                                                          On _
                                                                                                             or After November I 1987)

                          Joseph Demitrius Aguilar-I 0                               Case Number: 09-cr-01336-JAH-IO
                                                                                     Charles L Rees
                                                                                     Defendant's Attorney
     REGISTRAnON NO. 17342050
     I8l Modifieation ofTenn ofImprisonment (Fed, R. Crim. P. 35); Previously Imposed Sentence is Hereby Set Aside and Vacated
     THE DEFENDANT:
     I8l pleaded guilty to count(s)             count one of the superseding indictment.

     o     was found guilty on count(s)
           after a plea of not guilty.
           Accordingly. the defendant is adjudged guilty of such count(s). which involve the following otlense(s):
                                                                                                                                                    Count
     Title & Section                           Nature of Offense                                                                                  Number(s)
21 :841(a)(1) and 846                  Conspiracy to Distribute and Possess with Intent to Distribute Marijuana
21:853




                The defendant is sentenced as provided in pages 2 through _ _4_ _ of this judgment. The sentence is imposed pursuant
         to the Sentencing Reform Act of 1984.
   o Count(s)
   o The defendant has been found not guilty on count(s)
              _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                    is DareD dismissed on the motion of the United States.
   I8l Assessment: $100.00.
   I8l No fine                                         I8l Forfeited pursuant to order filed                   12119/11                  included herein.
                IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days ofany change of name. residence.
         or mailing address until all lines. restitution, costs, and special assessmenl~ imposed by this judgment are fully paid. If ordered to pay restitution. the
         defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                      December 19. 20 II
                                                                                     Date of Imposition of Sentence




                                                                                      HONJO~U~
                                                                                      UNITED STATES DISTRICT JUDGE



                                                                                                                                                 09-cr-OI336-JAH-1O
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AO 245B     (Rev. 9100) Judgment in ClimillaJ Case
            Sheet 2   Imprisonment



 DEFENDANT: Joseph Demitrius Aguilar-I 0
                                                                                             Judgment   Page
                                                                                                               -   2    of      4


CASE NUMBER: 09-cr-01336-JAH-IO
                                                              IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Time served.
          Sentence modified 9121112 pursuant to motion under FRCP 35.


    o Sentence imposed pursuant to Title 8 USC Section 1326(b}.
    o     The court makes the following recommendations to the Bureau of Prisons:




    o     The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.
                as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D
       D as notified by the United States Marshal.
       D as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ • with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL


                                                                    By ______~~~~~~~~~~~-----------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                   09-cr-01336-.JAH-IO
